        Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TAMBU PATRICK,

               Plaintiff,

       v.                                              1:14-cv-1687-RC

DISTRICT OF COLUMBIA, et al.,

               Defendants.


                      Memorandum in Support of District of Columbia’s
                             Motion for Summary Judgment

       The plaintiff, Tambu Patrick, alleges that in April 2013 District of Columbia (District)

police officers beat him and caused him severe injuries. He wishes to recover against the District

and claims false imprisonment (Count 1), assault and battery (Count 2), negligence (Count 3),

and violations of his rights under the First, Fourth, Fifth, and Eighth Amendments to the U.S.

Constitution (Counts 4-7). For the reasons discussed below, the Court should dismiss Mr.

Patrick’s complaint against the District.

                                            Background

       Mr. Patrick alleges that on or about April 10, 2013, he was walking on the parking lot of

his residence, and four officers from the District of Columbia Metropolitan Police Department

were nearby. Compl. ¶ 14. According to the complaint, the officers observed Mr. Patrick throw

trash into a dumpster at the back of his residence, and, as Mr. Patrick walked toward his vehicle,

which was parked in the parking lot, the police officers approached him. Id. Mr. Patrick alleges

that as he started entering his vehicle, one officer, James Chastanet, ordered him to exit and step




                                                  1
	  
         Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 2 of 10




away from the vehicle and told Mr. Patrick he was going to conduct a pat-down of Mr. Patrick

and search his car. Id.

       Mr. Patrick states that at this point he asked Officer Chastanet whether the officers had a

search warrant, Officer Chastanet replied that no warrant was necessary, and Officer Chastanet

and the other officers then proceeded to beat Mr. Patrick, allegedly causing him severe injuries,

and to arrest him. Id. ¶¶ 14-15. Mr. Patrick alleges that his arrest was without probable cause,

and that the police officers falsely stated that they had found drugs and a weapon on him. Id. 1.

On April 11, 2013, Mr. Patrick was charged with unlawful possession of a firearm. See Ex. B to

Compl. (Docket, 2013 CF2 5982). Mr. Patrick alleges that his indictment was “based solely on

[the officers’] false testimony before [the] grand jury.” Compl. ¶ 36. On May 3, 2013, the

charge was dismissed. See id. Mr. Patrick filed this lawsuit on October 9, 2014. See Compl.

                                          Legal Standard

       To survive a Rule 12(b)(6) motion to dismiss, a plaintiff’s “[f]actual allegations must be

enough to raise a right to relief above the speculative level, on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Bell Atl. Corp. v. Twombly, 550

U.S. 554, 555 (2007). The Supreme Court has set forth a two-pronged test to determine whether

a complaint’s factual allegations meet this standard. See Ashcroft v. Iqbal, 556 U.S. 662, 678-79

(2009). First, the court should “identify[] pleadings that, because they are no more than

conclusions, are not entitled to the assumption of truth.” Id. at 679. Next, once a court has

determined that the plaintiff has asserted “well-pleaded factual allegations,” it “should assume

their veracity and then determine whether they plausibly give rise to an entitlement to relief.” Id.

at 679. For a complaint to be facially plausible, its factual allegations must support “the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678 (internal



                                                  2
	  
        Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 3 of 10




quotation marks and citations omitted). The complaint’s factual allegations “must produce an

inference of liability strong enough to nudge the plaintiff’s claims across the line from

conceivable to plausible.” Id. at 680 (internal quotation marks and citations omitted).

       A pro se complaint “must be held to less stringent standards than formal pleadings

drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (internal quotation marks and

citation omitted). Nonetheless, it “must plead ‘factual matter’ that permits the court to infer

‘more than the mere possibility of misconduct.’” Atherton v. D.C. Office of the Mayor, 567 F.3d

672, 681-82 (D.C. Cir. 2009) (quoting Iqbal, 556 U.S. at 679). Thus, even for a pro se plaintiff,

the basic pleading standard “demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 555).

       “In deciding a motion under Rule 12(b)(6), a court may consider the facts alleged in the

complaint, documents attached to the complaint as exhibits or incorporated by reference, and

matters about which the court may take judicial notice.” Cooper v. Jackson, 941 F. Supp. 2d 75,

81 (D.D.C. 2013) (citing Abhe & Svoboda, Inc. v. Chao, 508 F.3d 1052, 1059 (D.C. Cir. 2007);

Covad Commc'ns Co. v. Bell Atl. Co., 407 F.3d 1220, 1222 (D.C. Cir. 2005)).

                                            Argument

       Of the seven counts Mr. Patrick presents in his complaint, none state a claim allowing

him to recover against the District because they are either disallowed as a matter of law or

unsupported by the factual allegations in the complaint. The Court should therefore dismiss the

complaint with respect to the District.




                                                  3
	  
        Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 4 of 10




I.     Mr. Patrick Cannot Recover on His Intentional Tort Claims (Counts 1 and 2)
       Because They Are Time-Barred, and Because He Has Not Complied with the Notice
       Requirement of D.C. Code Section 12-309.

       Mr. Patrick wishes to hold the District liable for the false imprisonment (Count 1) and

assault and battery (Count 2) allegedly committed by District police officers. Under District law,

the statute of limitations for false imprisonment, assault, and battery is one year. See D.C. Code

§ 12-301(4). According to the complaint, the events underlying Counts 1 and 2 occurred on or

about April 10, 2013. See Compl. ¶¶ 14-15. Mr. Patrick filed this lawsuit on October 9, 2014,

well over one year after the alleged false imprisonment and assault and battery. Counts 1 and 2

are therefore time-barred.

       In addition, Mr. Patrick has no right of action against the District because he has not

provided the notice required under D.C. Code section 12-309. Under District law, one who

intends to sue the District for unliquidated damages must notify the Mayor’s office within six

months of the alleged injury underlying his claim. D.C. Code § 12-309. This notification must

describe the “the approximate time, place, cause, and circumstances of the injury or damage.” Id.

The notice requirement is a mandatory prerequisite to suing the District: if a claimant does not

comply with it before filing suit, no right of action accrues to him. Campbell v. District of

Columbia, 568 A.2d 1076, 1077 (D.C. 1990) (citing Gwinn v. District of Columbia, 434 A.2d

1376, 1378 (D.C. 1981)). Failure to comply with section 12-309 cannot be “cured” after the

lawsuit has commenced, even within six months of the alleged injury, since the purpose of

section 12-309 is to allow the District to investigate and settle meritorious claims before

litigation begins. Id. Courts enforce compliance with section 12-309 strictly. See id.

       As demonstrated in the attached Declaration of Lana Craven of the District of

Columbia’s Office of Risk Management (Ex. 1), the plaintiff has not complied with D.C. Code



                                                  4
	  
        Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 5 of 10




section 12-309. He therefore cannot maintain his claims of false imprisonment and assault and

battery against the District, and the Court should dismiss those claims.

II.    The Court Should Dismiss Mr. Patrick’s Negligence Claim (Count 3) Because No
       Facts Alleged Support It, It Is Premised on Allegedly Intentional Conduct, and Mr.
       Patrick Has Failed to Comply with D.C. Code Section 12-309.

       Mr. Patrick has brought one count of negligence against the District (Count 3). He has

not pled any facts supporting a negligence claim. For this reason alone the Court should dismiss

this claim. To the extent he wishes to premise his negligence claim on the same allegations

underlying his claims of false imprisonment and assault and battery, he is precluded from doing

so. “It is impossible” to negligently commit an intentional tort, as the states of mind required for

negligent and intentional torts are separate and incompatible. District of Columbia v. Chinn, 839

A.2d 701, 708 (D.C. 2003) (citing Sabir v. District of Columbia, 755 A.2d 449, 452 (D.C.

2000)). Although “one incident may give rise to both negligence and intentional tort claims,” a

plaintiff “must set forth theories meeting the individual requirements of each claim.” Id. at 710.

A plaintiff “may not bootstrap” a negligence claim onto an intentional tort, as “one may not

commit a negligent assault.” Id.

       Here, Mr. Patrick’s allegations concerning the police officers’ actions toward him all

bespeak intentional conduct, not negligence. He alleges, for instance, that Officer Chastanent

“grabbed Patrick’s keys out of his hand,” “hit[] and punch[ed] Patrick all over his body,”

“slammed Patrick onto the ground,” and “placed [him] under arrest.” Compl. ¶¶ 14-15. Mr.

Patrick asserts that these acts constituted false imprisonment and assault and battery. Yet he also

asserts that they constituted negligence. See Compl. ¶ 28 (incorporating paragraphs 1 through 22

of complaint in support of negligence claim). This claim makes little sense, and should fail as a

matter of law, because the state of mind required for the intentional torts precludes the state of



                                                  5
	  
                        Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 6 of 10




mind required for negligence. Mr. Patrick has not articulated negligence as an alternative

explanation for his alleged beating by District police officers; he has bootstrapped it onto the

same alleged events underlying his false imprisonment and assault and battery claims. For this

reason, the Court should dismiss Count 3.

                 The Court should also dismiss Count 3 for the independent reason that Mr. Patrick has

failed to provide the District notice of his intent to sue the District, as D.C. Code section 12-309

requires. See supra at 4-5.

III.             The Court Should Dismiss Mr. Patrick’s Constitutional Claims (Counts 4 to 7)
                 Because He Does Not Allege That a District Policy Caused The Alleged
                 Constitutional Violations.

                 Mr. Patrick wishes to hold the District liable for the alleged violations of his First, Fourth,

Fifth, and Eighth Amendment rights (Counts 4 to 7). See Compl. ¶¶ 28-33. Although the

complaint does not mention 42 U.S.C. § 1983, the claims are presumably brought under that

statute.1 To state a viable claim under section 1983, Mr. Patrick must allege facts plausibly

suggesting that a person acting under color of law deprived him of a constitutional right or a

right conferred by federal law. See Brown v. District of Columbia, 514 F.3d 1279, 1281 (D.C.

Cir. 2008). The District of Columbia is a municipality for purposes of determining municipal

liability under section 1983. Butera v. District of Columbia, 235 F.3d 637, 660 (D.C. Cir. 2001)

(citing D.C. Code § 1-102 (1999 Repl.)). Like all municipalities, however, it cannot be held

liable on a respondeat superior theory. Singletary v. District of Columbia, 766 F.3d 66, 72 (D.C.

Cir. 2014) (citing Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978)). “Instead, it is only
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1
                                                      The statute provides:
                                                                                                             Every person who, under color of any statute . . . of any State . . .
                                                                                                             subjects, or causes to be subjected, any citizen of the United States
                                                                                                             or other person within the jurisdiction thereof to the deprivation of
                                                                                                             any rights, privileges, or immunities secured by the Constitution
                                                                                                             and laws, shall be liable to the party injured in an action at law . . . .
                 	  

                                                                                                                  6
	  
           Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 7 of 10




‘when execution of a government’s policy or custom inflicts the injury that the government as an

entity is responsible under § 1983.’” Id. (quoting Monell, 436 U.S. at 694).

          A municipality’s policy or custom can be the cause of an injury if (1) “the municipality or

one of its policymakers explicitly adopt[s] the policy that was the moving force of the

constitutional violation”; (2) a policymaker knowingly ignores an unconstitutional practice

consistently enough to constitute custom; or, (3) the municipality fails to respond “to a need in

such a manner as to show deliberate indifference to the risk that not addressing the need will

result in constitutional violations.” Warren v. District of Columbia, 353 F.3d 36, 39 (D.C. Cir.

2004) (internal citations and quotation marks omitted).

          A plaintiff “cannot rely upon scattershot accusations of unrelated constitutional violations

to prove either that a municipality was indifferent to the risk of her specific injury or that it was

the moving force behind her deprivation.” Carter v. Morris, 164 F.3d 215, 218 (4th Cir. 1999).

Rather, “municipal liability will attach only for those policies or customs having a specific

deficiency or deficiencies . . . such as to make the specific violation almost bound to happen,

sooner or later, rather than merely likely to happen in the long run.” Id. (quoting Spell v.

McDaniel,824 F.2d 1380, 1390 (4th Cir. 1987)) (internal quotation marks omitted) (emphasis

added).

          Mr. Patrick does not allege that a District of Columbia policy or custom caused his

alleged constitutional injuries. Nor does he allege that the District acted in a way showing

deliberate indifference to his constitutional rights. He alleges that the actions of District police

officers violated his rights under the First, Fourth, Fifth, and Eighth Amendments, but under

section 1983 a municipality “cannot be held liable solely because it employs a tortfeasor.”




                                                    7
	  
         Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 8 of 10




Singletary, 766 F.3d at 72. Because Mr. Patrick presents no allegations showing municipal

liability, the Court should dismiss his constitutional claims against the District.

IV.    The Court Should Also Dismiss Mr. Patrick’s First, Fifth, and Eighth Amendment
       Claims (Counts 4, 6, and 7) Because He Does Not Allege Any Facts Making Relief
       Under These Amendments Plausible.

       Mr. Patrick’s First, Fifth, and Eighth Amendment Claims (Counts 4, 6, and 7) also fail

because his allegations do not plausibly give rise to relief under these Amendments. Even

liberally construed, the complaint appears to implicate none of these Amendments. There is no

mention of speech, assembly, religious exercise, or any other fact that would implicate any of the

multitude of rights the First Amendment protects, and the Court should dismiss Mr. Patrick’s

First Amendment claim.

       Mr. Patrick’s Fifth Amendment due-process claim appears to be grounded in his

allegation that his indictment was “based solely on [the officers’] false testimony before [the]

grand jury”—i.e., that he was wrongly indicted. Compl. ¶ 36. A due process violation may

occur at the grand jury stage if prosecutorial misconduct “‘substantially influenced the grand

jury’s decision to indict,’ or if there is ‘grave doubt’ that the decision to indict was free from the

substantial influence” of such misconduct. Goodrich v. Hall, 448 F.3d 45, 49-50 (1st Cir. 2006)

(quoting Bank of Nova Scotia v. United States, 487 U.S. 250, 263 (1988)). “The person directly

responsible for any [F]ifth [A]mendment violation, the prosecutor, is absolutely immune from

suit,” and “to state a claim against the other defendants, [the plaintiff must] allege that those

individuals controlled the decision-making process of the prosecutor.” McCarthy v. Mayo, 827

F.2d 1310, 1316 (9th Cir. 1987). No allegations in the complaint suggest that the police officers

exercised such control. For this reason, Mr. Patrick has not stated a due process claim against

the police officers, and the Court should dismiss his Fifth Amendment claim. Cf. McCarthy, 827



                                                   8
	  
          Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 9 of 10




F.2d at 1316 (holding, on similar facts, that the plaintiff failed to state a claim under section

1983).

         Nor do Mr. Patrick’s allegations implicate the Eighth Amendment. The Eighth

Amendment states that “[e]xcessive bail shall not be required, nor excessive fines imposed, nor

cruel and unusual punishments inflicted.” The Cruel and Unusual Punishments Clause has no

applicability outside the criminal process. Ingraham v. Wright, 430 U.S. 651, 667 (1977). The

Excessive Bail and Excessive Fines Clauses apply in criminal proceedings, and in certain

circumstances outside criminal proceedings. See Carlson v. Landon, 342 U.S. 524, 544-45

(1952) (discussing Excessive Bail Clause in context of aliens held without bail during

deportation proceedings); Austin v. United States, 509 U.S. 602, 621-22 (1993) (holding that

Excessive Fines Clause applies to fees levied through civil forfeiture).

         Mr. Patrick does not claim that bail, fines, or punishment are at issue here. His complaint

concerns his alleged beating and false arrest by District police officers and is not related to the

criminal process or punishment; nor does it involve deportation proceedings or civil forfeiture.

Because none of the allegations in the complaint implicate the protections the Eighth

Amendment provides, and the Court should dismiss Mr. Patrick’s Eighth Amendment claim.

                                             Conclusion

         For these reasons, the Court should dismiss Mr. Patrick’s complaint against the District.


December 30, 2014                      Respectfully submitted,

                                       EUGENE A. ADAMS
                                       Interim Attorney General for the District of Columbia

                                       GEORGE C. VALENTINE
                                       Deputy Attorney General, Civil Litigation Division

                                       /s/ Jonathan H. Pittman


                                                   9
	  
       Case 1:14-cv-01687-RC Document 11-1 Filed 12/30/14 Page 10 of 10




                              JONATHAN H. PITTMAN [430388]
                              Chief, Civil Litigation Division Section III
                              441 Fourth Street, N.W., Suite 630 South
                              Washington, D.C. 20001
                              (202) 724-6602
                              (202) 741-8926 (fax)
                              jonathan.pittman@dc.gov

                              /s/ Ali Naini
                              ALI NAINI [998331]
                              Assistant Attorney General
                              441 Fourth Street, N.W., Suite 630 South
                              Washington, D.C. 20001
                              (202) 727-9624
                              (202) 730-1441 (fax)
                              ali.naini@dc.gov

                              Counsel for the District of Columbia




                                         10
	  
